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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
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10     STARBUCKS CORPORATION, a                          Case No.
       Washington corporation,
11                                                       COMPLAINT
                Plaintiff,
12     v.
13     DOES 1-10, inclusive,                             JURY TRIAL DEMANDED
14              Defendants.

15

16          Plaintiff Starbucks Corporation (“Starbucks”), for its Complaint against Defendants

17   Does 1 through 10, hereby alleges as follows:

18                                            INTRODUCTION

19          1.        This is a lawsuit seeking relief for harm caused by infringing actors who have

20   published copyrighted material and used trademarks owned by Starbucks on at least two

21   infringing websites, <starbucksfranchise.com> and <starbuckslicense.com> (the “Infringing

22   Sites”).

23          2.        The Infringing Sites are intended to appear as legitimate Starbucks sites offering

24   legitimate Starbucks products and/or services—even though they have no affiliation with

25   Starbucks—and as a result have caused Starbucks harm and ongoing injury.

26                                             THE PARTIES

27          3.        Starbucks is a corporation formed under the laws of the State of Washington, with
                                                                                          focal PLLC
       COMPLAINT                                                                    900 1st Ave. S., Suite 201
       (Case No.______________) – 1                                                Seattle, Washington 98134
                                                                                    telephone (206) 529-4827
                                                                                        fax (206) 260-3966
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 1   its principal place of business located in Seattle, Washington.

 2             4.       Upon information and belief, Does 1 through 10 are unknown actors who are

 3   acting in concert to operate the Infringing Sites and effect the harms on Starbucks as described in

 4   this Complaint.

 5             5.       The true names and capacities, whether individual, corporate, associate,

 6   partnership or otherwise of the Doe defendants are unknown to Starbucks at this time, who

 7   therefore sues such defendants by fictious names. Upon information and belief, each of the Doe

 8   Defendants is legally responsible in some manner for the events and happenings described

 9   herein. Starbucks will seek leave of Court to amend this Complaint to identify the true names

10   and capacities of the Doe Defendants when the same have been ascertained.

11             6.       Upon information and belief, each of the Defendants was the agent of each of the

12   other Defendants and, in engaging in the actions alleged herein, was acting within the course and

13   scope of such agency.

14                                       JURISDICTION AND VENUE

15             7.       This Court has subject matter jurisdiction over this action under

16   28 U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121(a) because it alleges, among other claims,

17   violations of the Copyright Act, 17 U.S.C. § 101 et seq., and the Lanham Act, 15 U.S.C. § 1051

18   et seq.

19             8.       This Court has supplemental jurisdiction over the related state law claims under

20   28 U.S.C. § 1367(a) as those claims are so related to the claims under federal law as to form part

21   of the same case or controversy.

22             9.       This Court has personal jurisdiction over Defendants because, as described herein,

23   Defendants have willfully infringed copyrights and trademarks held by Starbucks, engaged in

24   unfair methods of competition and unfair and deceptive acts or practices directed at Starbucks,

25   and committed other intentional tortious acts directed to Washington and the United States that

26   have caused Starbucks extensive damage. The Infringing Sites created and operated by

27   Defendants use the Seattle address of Starbucks, reflecting an intent to target their actions
                                                                                            focal PLLC
       COMPLAINT                                                                      900 1st Ave. S., Suite 201
       (Case No.______________) – 2                                                  Seattle, Washington 98134
                                                                                      telephone (206) 529-4827
                                                                                          fax (206) 260-3966
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 1   towards Washington. As a result, Defendants have purposefully directed their activities to

 2   Washington. Further, Defendants knew or should have known that their intentional and/or willful

 3   acts would cause harm to Starbucks in Washington where it is headquartered.

 4          10.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

 5   part of the events or omissions giving rise to the claim occurred, and the injuries suffered by

 6   Starbucks were suffered, in this judicial district.

 7                                      FACTUAL ALLEGATIONS

 8                                         Starbucks Background

 9          11.     Starbucks is the country’s leading purveyor of fine Arabica coffee. Beginning in

10   1971 as a single, Seattle-based dry goods store, Starbucks has grown to approximately 15,650

11   retail locations in the United States, and more than 19,298 retail locations in more than

12   83 foreign countries. Starbucks retail stores serve brewed coffee, teas, and other foods and

13   beverages, and offer coffee equipment, glassware, mugs, and other Starbucks-branded

14   merchandise for sale. These stores, and the merchandise offered therein, prominently display

15   trademarks and copyrighted material owned by Starbucks (the “Starbucks Marks” and

16   “Starbucks Copyrights,” respectively), as further described in paragraphs 17 through 22 below.

17          12.     These stores conduct billions of transactions in a single year. The worldwide

18   success of Starbucks is owed to its strong reputation for its fresh-roasted specialty coffees,

19   brewed coffees, espresso beverages and the other products and services it provides. Starbucks

20   has a reputation for excellence, particularly in the area of roasted coffees and coffee beverages

21   and is widely recognized for its knowledgeable staff and superior service.

22          13.     Starbucks also serves coffee and other beverages in the United States through

23   hundreds of authorized third parties (“Authorized Sellers”), including bookstores, cruise line

24   ships, hotels, theaters, sport and entertainment venues, airports, grocery stores, retail stores, and

25   restaurants. These Authorized Sellers display the Starbucks Marks and Starbucks Copyrights in

26   connection with the Starbucks beverages that they serve. Their use of such marks and copyrights

27   is licensed under one or more agreements with Starbucks. These Authorized Seller agreements
                                                                                           focal PLLC
       COMPLAINT                                                                     900 1st Ave. S., Suite 201
       (Case No.______________) – 3                                                 Seattle, Washington 98134
                                                                                     telephone (206) 529-4827
                                                                                         fax (206) 260-3966
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 1   ensure Starbucks products are distributed only through authorized parties who must follow

 2   Starbucks quality controls and are accountable to Starbucks for any quality issues. By

 3   distributing products exclusively in this manner, Starbucks is better able to control the quality

 4   and integrity of its products. Starbucks monitors use of the Starbucks Marks and Starbucks

 5   Copyrights by these accounts to ensure compliance with Authorized Seller agreements.

 6          14.     Starbucks also advertises and sells its products and services on its website,

 7   Starbucks.com. The Starbucks Marks and Starbucks Copyrights appear on many of the

 8   individual web pages and are prominently displayed on products promoted on the Starbucks.com

 9   website. Following is a screenshot of the Starbucks website as of August 31, 2022:

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21          15.     Starbucks also maintains official social media accounts, including a Facebook
22   page (www.facebook.com/Starbucks) and a Twitter account (twitter.com/Starbucks ), that
23   prominently feature the Starbucks Marks and the Starbucks Copyrights.
24          16.     Starbucks polices and monitors all of its distribution channels to ensure strict
25   compliance with the intellectual property policies of Starbucks.
26                             The Starbucks Copyrights and Trademarks
27          17.     Starbucks is the owner of all rights in and to copyrighted works embodying a
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No.______________) – 4                                               Seattle, Washington 98134
                                                                                   telephone (206) 529-4827
                                                                                       fax (206) 260-3966
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 1   forward-facing, twin-tailed siren, including but not limited to works that are the subject of U.S.

 2   Registration Nos. VA 875-932 and VA 1-768-520 (the “Starbucks Siren”). True and correct

 3   copies of the certificates of registration for the Starbucks Copyrights are attached hereto as

 4   Exhibit 1 and Exhibit 2.

 5          18.     Starbucks is the owner of all rights in and to the STARBUCKS mark as well as

 6   the Starbucks Siren design mark in connection with a wide variety of goods and services.

 7   Starbucks owns numerous trademark and service mark registrations for those marks in the

 8   United States and around the world, including but not limited to the following U.S. registrations

 9   (for a complete listing of the associated goods and services, see Exhibit 3 hereto):

10
                  Mark                Reg. No.                        Goods/Services
11
                                      6,783,025     IC 035 Retail store services in the field of tea,
12                                                  food, beverages, tea makers, books, musical
                                                    recordings, wallets, travelling bags, shopping
13                                                  bags, handbags, jewelry, clothing and hats, toys,
                                                    including stuffed toys; wholesale distributorship
14                                                  services of food, beverage, housewares, and
15                                                  kitchenware, excluding the transport thereof; on-
                                                    line retail store services featuring food, beverage,
16                                                  housewares, and kitchenware

17                                    3,428,128     IC 035 Business administration; business
                                                    management; franchising, namely, providing
18                                                  technical assistance in the establishment and/or
19                                                  operation of restaurants, cafes, coffee houses and
                                                    snack bars; providing technical assistance in the
20                                                  establishment and/or operation of restaurants,
                                                    cafes, coffee houses and snack bars
21
                                      1,444,549     IC 035 Retail store services and distributorship
22                                                  services for coffee, tea
23                                                  IC 043 Coffee cafe services

24                                    2,073,104     IC 035 Wholesale supply services featuring
                                                    ground and whole bean coffee, tea, cocoa, coffee
25                                                  and espresso beverages
26                                                  IC 043 Restaurant, cafe and coffee house services
27
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No.______________) – 5                                               Seattle, Washington 98134
                                                                                   telephone (206) 529-4827
                                                                                       fax (206) 260-3966
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 1                                    4,572,688     IC 021 Insulated coffee and beverage cups,
                                                    insulated vacuum bottles, coffee cups, tea cups
 2                                                  and mugs, glassware, non-electric drip coffee
                                                    makers, paper cups and insulated sleeves for
 3                                                  beverage cups
 4                                                  IC 035 Business administration; business
                                                    management; franchising, namely, providing
 5                                                  technical assistance in the establishment and/or
 6                                                  operation of restaurants, cafes, coffee houses and
                                                    snack bars; retail store services in the field of
 7                                                  coffee, tea, cocoa, packaged and prepared foods,
                                                    electric appliances, non-electric appliances,
 8                                                  housewares, kitchenware
 9

10          19.     Starbucks began using one or more of the Starbucks Marks in commerce at least

11   as early as 1971, and since that time, its use of the marks has been continuous and exclusive in

12   connection with the referenced goods and services. In particular, the Starbucks Siren has become

13   inextricably linked to Starbucks products and services on a global scale.

14          20.     Starbucks devotes a significant amount of time, energy, and resources toward

15   protecting the value of the Starbucks Copyrights and the Starbucks Marks, and reputation. By

16   distributing Starbucks products exclusively through Authorized Sellers, Starbucks is able to

17   ensure the safety, well-being and satisfaction of consumers and maintain the integrity and

18   reputation of Starbucks products.

19          21.     Due to the superior quality and exclusive distribution of Starbucks products, and

20   because Starbucks is recognized as the source of high-quality products, the Starbucks Marks

21   have considerable value.

22          22.     Starbucks has developed substantial goodwill and strong consumer recognition in

23   the Starbucks Marks. As a result, Starbucks has established strong rights in the Starbucks Marks,

24   which are entitled to broad protection.

25                                       Defendants’ Infringing Acts

26          23.     Upon information and belief, Defendants have developed, published, and operated

27   at least two websites – <starbucksfranchise.com> and <starbuckslicense.com> – that incorporate
                                                                                        focal PLLC
       COMPLAINT                                                                  900 1st Ave. S., Suite 201
       (Case No.______________) – 6                                              Seattle, Washington 98134
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                                                                                      fax (206) 260-3966
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 1   the Starbucks Copyrights and the Starbucks Marks.

 2          24.     By using the Starbucks Copyrights and the Starbucks Marks, the websites are

 3   designed to appear as if they are official Starbucks websites or affiliated with Starbucks.

 4          25.     For example, following is a screenshot captured from the

 5   <starbucksfranchise.com> website on June 28, 2022:

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25   A complete copy of the screenshot is attached hereto as Exhibit 4.

26          26.     The <starbuckslicense.com> website similarly uses the Starbucks Copyrights and

27   Starbucks Marks to falsely represent a connection with Starbucks. Following is a screenshot
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No.______________) – 7                                               Seattle, Washington 98134
                                                                                   telephone (206) 529-4827
                                                                                       fax (206) 260-3966
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 1   captured from the <starbuckslicense.com> website captured on September 7, 2022:

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23          27.     The sites also include the contact information of Starbucks and/or Starbucks

24   employees or executives to portray a veneer of legitimacy and authenticity. For example,

25   following is a screenshot of the “contact” page captured from the <starbuckslicense.com>

26   website on September 7, 2022, showing the use of the Starbucks address and an image of the

27   Starbucks headquarters:
                                                                                      focal PLLC
       COMPLAINT                                                                900 1st Ave. S., Suite 201
       (Case No.______________) – 8                                            Seattle, Washington 98134
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                                                                                    fax (206) 260-3966
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14   Copies of the screen captures from the <starbuckslicense.com> website are attached hereto as
15   Exhibit 5.
16          28.     On information and belief, Defendants also created one or more email accounts
17   with third-party service providers and sent emails associated with the Infringing Sites that
18   purported to originate from Starbucks.
19          29.     On information and belief, Defendants’ unauthorized use of the Starbucks
20   Copyrights and Starbucks Marks intentionally and fraudulently misleads consumers into
21   believing they are engaging in commercial transactions with Starbucks.
22          30.     Existing Starbucks customers, as well as existing and prospective Authorized
23   Sellers, have reported the Infringing Sites to Starbucks and raised questions regarding the
24   legitimacy and affiliation of those sites with Starbucks.
25          31.     Starbucks has received numerous reports from these customers and Authorized
26   Sellers in the form of emails and social media messages asking Starbucks to verify the
27   authenticity of Starbucks franchise and licensing offers being made by Defendants via the
                                                                                        focal PLLC
       COMPLAINT                                                                  900 1st Ave. S., Suite 201
       (Case No.______________) – 9                                              Seattle, Washington 98134
                                                                                  telephone (206) 529-4827
                                                                                      fax (206) 260-3966
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 1   Infringing Sites. The individuals reporting Defendants’ unlawful activities have also given

 2   Starbucks samples of fraudulent memoranda of understanding, license agreements, and invoices

 3   that Defendants have used to further their fraudulent scheme facilitated in part via the Infringing

 4   Sites.

 5                          The Efforts of Starbucks to Identify the Doe Defendants

 6            32.   The investigation of this matter revealed that the domain registrar for one of the

 7   Infringing Sites – the <starbucksfranchise.com> site – was Namecheap.com.

 8            33.   On July 2, 2022, Starbucks filed a UDRP Complaint with the World Intellectual

 9   Property Organization (“WIPO”) Arbitration and Mediation Center seeking transfer of the

10   <starbucksfranchise.com> domain name based on the infringing use of the STARBUCKS mark

11   in the name.

12            34.   In response to the UDRP Complaint, Namecheap provided the name and contact

13   information for the registrant of the domain name. The registrant, however, had used the address

14   of Starbucks as the contact information for the domain name registration notwithstanding the fact

15   that the registration was not authorized by or otherwise connected to Starbucks.

16            35.   Additionally, pursuant to a subpoena issued by this Court in the action In re

17   DMCA § 512(h) Subpoena to Namecheap, Inc., No. 2:22-mc-00057, on July 8, 2022, Starbucks

18   served a subpoena on Namecheap requesting identifying information associated with the

19   <starbucksfranchise.com> domain name, specifically including the name(s) and any contact

20   information for the registrant(s) of the domain name.

21            36.   Namecheap produced information in response to the DMCA subpoena, and in its

22   production, the registrant of the domain name was identified as “Foresight Global Consulting

23   Ltd.” However, because the registrant used obviously false contact information to register the

24   domain name (the address of Starbucks and a telephone number that appears to be connected to a

25   Krispy Kreme franchise located in North Carolina), the company name is likely to be a fake

26   name or a name that has been used without permission of the company in question. In any event,

27   the registrant’s affirmative attempts to obscure its identity by using false contact information
                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No.______________) – 10                                              Seattle, Washington 98134
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 1   made it impossible for Starbucks to confirm the registrant’s true identity.

 2          37.     On August 25, 2022 the UDRP panelist decided in favor of Starbucks and ordered

 3   the transfer of the <starbucksfranchise.com> domain name to Starbucks.

 4          38.     On September 2, 2022, Starbucks also filed a UDRP Complaint with the WIPO

 5   Arbitration and Mediation Center seeking transfer of the <starbuckslicense.com> domain name

 6   based on the infringing use of the STARBUCKS mark in the name.

 7          39.     In response to the UDRP Complaint referenced in paragraph 38, the registrar for

 8   <starbuckslicense.com>, Namecheap, provided the name and contact information for the

 9   registrant of the domain name. Again, the registrant had used the address of Starbucks as the

10   contact information for the domain name registration, notwithstanding the fact that the

11   registration was not authorized by or otherwise connected to Starbucks.

12                                     FIRST CAUSE OF ACTION

13                           (Copyright Infringement, 17 U.S.C. § 101 et seq.)

14          40.     Starbucks realleges and incorporates by reference the allegations set forth in the

15   paragraphs 1-39 as if fully set forth herein.

16          41.     Starbucks is the owner of, or has exclusive rights in, the copyrights in the

17   Starbucks Copyrights.

18          42.     Defendants have copied, reproduced, adapted, and/or created derivative works

19   from, and continue to copy, reproduce, adapt, and/or create derivative works from, the Starbucks

20   Copyrights, without the consent of Starbucks.

21          43.     The foregoing activities constitute direct infringement of the exclusive rights of

22   Starbucks in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.

23          44.     Defendants’ actions were and are intentional, willful, wanton, and performed in

24   disregard of the rights of Starbucks.

25          45.     Starbucks is entitled to injunctive relief pursuant to 17 U.S.C. § 502.

26          46.     Starbucks is entitled to its actual damages and Defendants’ profits, in amounts to

27   be proven at trial, pursuant to 17 U.S.C. § 504(b).
                                                                                          focal PLLC
       COMPLAINT                                                                    900 1st Ave. S., Suite 201
       (Case No.______________) – 11                                               Seattle, Washington 98134
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 1             47.   Alternatively, Starbucks is entitled to the maximum statutory damages of

 2   $150,000 per infringed work for willful infringement pursuant to 17 U.S.C. § 504(c)(2).

 3             48.   Starbucks is also entitled to recover its attorneys’ fees and costs of suit pursuant to

 4   17 U.S.C. § 505.

 5                                     SECOND CAUSE OF ACTION

 6                             (Trademark Infringement, 15 U.S.C. § 1114)

 7             49.   Starbucks realleges and incorporates by reference the allegations set forth in the

 8   paragraphs 1-39 as if fully set forth herein.

 9             50.   Starbucks is the owner of the federally registered Starbucks Marks identified

10   herein.

11             51.   Defendants’ use of the Starbucks Marks in connection with the Infringing Sites is

12   likely to cause and has caused confusion or mistake, or deception as to the source, origin,

13   affiliation, or endorsement of the products or services offered by Defendants via the Infringing

14   Sites.

15             52.   Defendants’ use of the Starbucks Marks as described herein constitutes

16   infringement of the trademark rights of Starbucks in its registered marks under 15 U.S.C. § 1114.

17             53.   Starbucks has been, and continues to be, irreparably damaged by the actions of

18   Defendants alleged herein in a manner that cannot be fully measured or compensated in

19   monetary damages and for which there is no adequate remedy at law. Starbucks is therefore

20   entitled to preliminary and permanent injunctive relief under 15 U.S.C. § 1116 restraining and

21   enjoining Defendants, and their agents, employees, and all persons acting in concert with them or

22   on their behalf, from using in commerce the Starbucks Marks or any colorable imitation thereof.

23             54.   Defendants’ conduct and continuation of such conduct is knowing, willful and

24   deliberate, and in conscious disregard of the rights of Starbucks in its Starbucks Marks, making

25   this an exceptional case within the meaning of 15 U.S.C. § 1117(a) and entitling Starbucks to an

26   award of its reasonable attorneys’ fees.

27             55.   Starbucks is entitled to the relief provided in 15 U.S.C. § 1117(a), including but
                                                                                           focal PLLC
       COMPLAINT                                                                     900 1st Ave. S., Suite 201
       (Case No.______________) – 12                                                Seattle, Washington 98134
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 1   not limited to, actual damages (which should be trebled), Defendants’ profits, and the costs of

 2   this action in amounts to be proven at trial.

 3                                     THIRD CAUSE OF ACTION

 4             (False Designation of Origin and Unfair Competition, 15 U.S.C. § 1125(a))

 5            56.   Starbucks realleges and incorporates by reference the allegations set forth in

 6   paragraphs 1-39 as if fully set forth herein.

 7            57.   As a result of its extensive and continuous use in commerce of the Starbucks

 8   Marks, Starbucks has established significant consumer recognition of, and rights to, its Starbucks

 9   Marks.

10            58.   Defendants’ use of the Starbucks Marks in connection with the Infringing Sites

11   constitutes false designation of origin and unfair competition under 15 U.S.C. § 1125(a) that is

12   likely to cause and has caused confusion, mistake, or deception as to (a) the affiliation,

13   connection or association of Defendants with Starbucks, and/or (b) the origin, sponsorship or

14   approval of the Infringing Sites and any goods or services offered via the Infringing Sites by

15   Starbucks.

16            59.   Starbucks has been, and continues to be, irreparably damaged by the actions of

17   Defendants alleged herein in a manner that cannot be fully measured or compensated in

18   monetary damages and for which there is no adequate remedy at law. Starbucks is therefore

19   entitled to preliminary and permanent injunctive relief under 15 U.S.C. § 1116 restraining and

20   enjoining Defendants, and their agents, employees, and all persons acting in concert with them or

21   on their behalf, from using in commerce the Starbucks Marks or any colorable imitation thereof.

22            60.   Defendants’ conduct and continuation of such conduct is knowing, willful and

23   deliberate, and in conscious disregard of the rights of Starbucks in and to the Starbucks Marks,

24   making this an exceptional case within the meaning of 15 U.S.C. § 1117(a) and entitling

25   Starbucks to an award of its reasonable attorneys’ fees.

26            61.   Starbucks is entitled to the relief provided in 15 U.S.C. § 1117(a), including but

27   not limited to, its actual damages (which should be trebled), Defendants’ profits, and the costs of
                                                                                          focal PLLC
       COMPLAINT                                                                    900 1st Ave. S., Suite 201
       (Case No.______________) – 13                                               Seattle, Washington 98134
                                                                                    telephone (206) 529-4827
                                                                                        fax (206) 260-3966
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 1   this action in amounts to be proven at trial.

 2                                     FOURTH CAUSE OF ACTION

 3                (Violation of Washington Consumer Protection Act, RCW 19.86 et seq.)

 4           62.     Starbucks realleges and incorporates by reference the allegations set forth in

 5   paragraphs 1-39 as if fully set forth herein.

 6           63.     Defendants’ activities described herein, including but not limited to operation of

 7   the Infringing Sites constitute unfair methods of competition and unfair and deceptive acts or

 8   practices, which are damaging to the public interest in violation of RCW 19.86.020.

 9           64.     Defendants’ unfair methods of competition and unfair and deceptive acts or

10   practices occur in the context of Defendants’ regularly conducted business or business practices.

11           65.     Defendants’ activities described herein have injured, and will continue to cause

12   injury to, Starbucks in its business or property, including the loss of sales, users, and goodwill.

13           66.     Defendants’ actions contravene the public interest since there is a strong public

14   interest in having a marketplace free from deceptive acts and practices.

15           67.     As a result of Defendants’ unfair methods of competition and unfair and deceptive

16   acts or practices, Starbucks has been damaged in an amount to be proven at trial and Starbucks

17   will continue to be irreparably damaged if Defendants’ wrongful conduct is permitted to

18   continue.

19           68.     Pursuant to RCW 19.86.090, Starbucks is entitled to its actual damages, which

20   should be trebled, together with its costs of suit and reasonable attorneys’ fees, and an injunction

21   restraining Defendants’ unfair business practices.

22                                         PRAYER FOR RELIEF

23           WHEREFORE, Starbucks respectfully requests that judgment be entered in its favor on

24   each of the claims stated herein and against Defendants, and that it be awarded relief that

25   includes, but is not limited to, an order:

26           1.      Preliminarily and permanently enjoining Defendants, their officers, employees,

27   agents, representatives, subsidiaries, affiliates, distributors, and all persons or entities acting in
                                                                                             focal PLLC
       COMPLAINT                                                                       900 1st Ave. S., Suite 201
       (Case No.______________) – 14                                                  Seattle, Washington 98134
                                                                                       telephone (206) 529-4827
                                                                                           fax (206) 260-3966
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 1   concert with them, from:

 2                     A.      developing, marketing, promoting, advertising, and supporting, any other

 3   websites similar to the Infringing Sites that incorporate the Starbucks Copyrights or the

 4   Starbucks Marks;

 5                     B.      using the Starbucks Copyrights in any manner inconsistent with the rights

 6   of Starbucks;

 7                     C.      using the Starbucks Marks in any manner inconsistent with the rights of

 8   Starbucks; and

 9                     D.      engaging in unfair methods of competition and unfair and deceptive acts

10   or practices with respect to Starbucks;

11             2.      Requiring Defendants to deliver to Starbucks all copies of materials that have

12   been made or used in violation of any of the rights of Starbucks described herein;

13             3.      Requiring Defendants to provide Starbucks an accounting of all sales or revenues

14   generated via the Infringing Sites or otherwise in violation of the rights of Starbucks;

15             4.      Awarding Starbucks its actual damages and Defendants’ profits attributable to the

16   infringement of the copyrighted works of Starbucks pursuant to 17 U.S.C. § 504(b), or,

17   alternatively, maximum statutory damages of $150,000 per infringed work for willful copyright

18   infringement pursuant to 17 U.S.C. § 504(c);

19             5.      Awarding Starbucks its actual damages—which should be trebled—and

20   Defendants’ profits for Defendants’ trademark infringement and false designation of origin and

21   unfair competition under the Lanham Act, and Defendants’ violations of the Washington

22   Consumer Protection Act pursuant to, respectively, 15 U.S.C. § 1117 and RCW 19.86.090;

23             6.      Awarding Starbucks its full costs of suit, including but not limited to, reasonable

24   attorneys’ fees, as permitted by law;

25             7.      Awarding prejudgment interest as permitted by law; and

26             8.      Such other relief as the Court deems just and proper.

27   //
                                                                                           focal PLLC
          COMPLAINT                                                                  900 1st Ave. S., Suite 201
          (Case No.______________) – 15                                             Seattle, Washington 98134
                                                                                     telephone (206) 529-4827
                                                                                         fax (206) 260-3966
              Case 2:22-cv-01481-JHC Document 1 Filed 10/19/22 Page 16 of 17




 1   Dated this 19th day of October, 2022.       Respectfully submitted,

 2                                               FOCAL PLLC

 3                                           By: s/ Venkat Balasubramani
 4                                               s/ Jennifer Davis
                                                 s/ Stacia N. Lay
 5                                               Venkat Balasubramani, WSBA #28269
                                                 Jennifer Davis, WSBA #28316
 6                                               Stacia N. Lay, WSBA #30594
                                                 900 1st Avenue S., Suite 201
 7                                               Seattle, Washington 98134
 8                                               Tel: (206) 529-4827
                                                 Fax: (206) 260-3966
 9                                               Email: venkat@focallaw.com
                                                 Email: jen@focallaw.com
10                                               Email: stacia@focallaw.com
11                                           Attorneys for Plaintiff Starbucks Corporation
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                                                                                  focal PLLC
       COMPLAINT                                                            900 1st Ave. S., Suite 201
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                                                                                fax (206) 260-3966
              Case 2:22-cv-01481-JHC Document 1 Filed 10/19/22 Page 17 of 17




 1                                     DEMAND FOR JURY TRIAL

 2          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff Starbucks

 3   Corporation demands trial by jury in this action of all issues so triable.

 4   DATED: October 19, 2022                            s/ Venkat Balasubramani
                                                        Venkat Balasubramani, WSBA #28269
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                                                                                         focal PLLC
       COMPLAINT                                                                   900 1st Ave. S., Suite 201
       (Case No.______________) – 17                                              Seattle, Washington 98134
                                                                                   telephone (206) 529-4827
                                                                                       fax (206) 260-3966
